                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TENNESSEE

CHARLES CURTIS, et al.,                                   )
                                                          )
Plaintiffs,                                               )    Civ. No. 3:06-cv-448
                                                          )    Judge Phillips
v.                                                        )
                                                          )
ALCOA INC., Individually and as Fiduciary of              )
the Employees’ Group Benefits Plan of Alcoa               )
Inc., Plan II,                                            )
                                                          )
Defendant.                                                )

        PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR
     CLARIFICATION AND/OR AMENDMENT OF THE JUDGMENT ORDER

       Plaintiffs, through counsel, pursuant to Fed. R. Civ. P. 59(a)(2) and (e) hereby

submit their Memorandum in support of their Motion for Clarification and/or

Amendment of the Judgment Order entered in this case on March 9, 2011. In further

support of their motion the Plaintiffs show as follows:

                               I.      INTRODUCTION

       Throughout this litigation at each and every stage of these proceedings the

Plaintiffs consistently asserted that their health care benefits were vested lifetime

benefits. The Defendant consistently denied it. Plaintiffs also contended that the vested

benefits were not subject to a cap. The Court’s Findings of Fact and Conclusions of Law

(hereinafter referred to as “FOF”) dated March 9, 2011 state at paragraph 289 that

“Plaintiffs who retired after the effective date of a cap agreement were vested in their

health care benefits subject to the limitations imposed by the cap.” Thus while ruling

against Plaintiffs as to the cap issue, the Court did still determine the benefits were

vested. This finding that the benefits are vested (albeit subject to a cap) is important to




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Plaintiffs because the law affords greater protection to vested than non-vested benefits.

However, the Judgment Order (hereinafter referred to as “Order”) does not carryover this

finding but instead dismisses every claim with prejudice, including Plaintiffs’ claim for a

declaratory judgment that benefits were vested.         In order to cure the apparent

contradiction between the FOF and the Order, the Plaintiffs request that the Court clarify

and amend its Order to include a specific judgment granting the Plaintiffs’ request for a

declaration that their health care benefits are lifetime, vested benefits and appropriate

injunctive relief.

                          II.    FACTUAL BACKGROUND

        This ERISA and LMRA action was filed based on allegations that the Defendant

improperly reduced vested retiree health care medical benefits. The Plaintiffs sought

declaratory, injunctive and monetary relief. The case was tried September 22, 2009

through October 1, 2009. On March 9, 2011 the Court filed the Order and the 100-page

written FOF. The Order states in its entirety:

        Upon consideration of the evidence produced at the nonjury trial held
        September 22, 2009 through October 1, 2009, and for the reasons set forth
        in the findings of fact and conclusions of law filed contemporaneously
        with this order, IT IS ORDERED AND ADJUDGED that the plaintiffs
        take nothing, and that the action be DISMISSED WITH PREJUDICE on
        the merits.

Because the Order appears not to address several points stated in the FOF and because

the Order appears to fail to address all of the remedies sought by the Plaintiffs, they now

seek clarification, and if necessary, amendment of the Order.




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                        III.    ISSUES FOR CLARIFICATION

A.     The Plaintiffs request the Court to clarify its Judgment Order with respect to
       the issue of whether the retiree health care benefits at issue in this case
       were vested.

       Throughout the litigation at each and every stage of these proceedings, the

Plaintiffs have consistently asserted that their benefits are vested lifetime benefits:

       1)      “Each Plaintiff was a member of a union (or derives his or her
               rights from such a member) which entered into collective
               bargaining agreements with Defendant . . . providing them with
               vested rights to retiree health care . . .” (Doc. 1, Complaint; Doc. 2,
               First Amended Complaint; Doc. 8, Second Amended Complaint;
               Doc. 9, Third Amended Complaint; Doc. 42-43, Fourth Amended
               Complaint; Doc. 169, Fifth Amended Complaint, ¶5) (emphasis
               added).

       2)      “Plaintiffs bring this action because Defendant has modified the
               Plan in violation of their vested rights under ERISA . . .” (Doc. 1,
               Complaint; Doc. 2, First Amended Complaint; Doc. 8, Second
               Amended Complaint; Doc. 9, Third Amended Complaint; Doc. 42-
               43, Fourth Amended Complaint; Doc. 169, Fifth Amended
               Complaint, ¶8) (emphasis added).

       3)      “Plaintiffs allege herein that their retiree health care benefits under
               the Plan are vested and, as such, cannot be modified by Defendant
               without Plaintiffs’ consent, which consent Plaintiffs have not
               provided.” (Doc. 1, Complaint; Doc. 2, First Amended Complaint;
               Doc. 8, Second Amended Complaint; Doc. 9, Third Amended
               Complaint; Doc. 42-43, Fourth Amended Complaint; Doc. 169,
               Fifth Amended Complaint, ¶9) (emphasis added).

       4)      “Accordingly, Plaintiffs allege that such a change to their Plan . . .
               is breach of contract under the NLRA, a violation of their vested
               rights under ERISA . . .” (Doc. 1, Complaint; Doc. 2, First
               Amended Complaint; Doc. 8, Second Amended Complaint; Doc. 9,
               Third Amended Complaint; Doc. 42-43, Fourth Amended
               Complaint; Doc. 169, Fifth Amended Complaint, ¶10) (emphasis
               added).

       5)      “All of the Plaintiffs are vested in their welfare benefits under the
               Plan and were vested in their welfare benefits under the Plan prior
               to the signing (sometime after June 22, 2006 relevant to most
               Plaintiffs) by the Union and Alcoa of the CBAs between



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            Defendant Alcoa and the Union, purporting to reduce the vested
            benefits to which Plaintiffs are entitled.” (Doc. 1, Complaint; Doc.
            2, First Amended Complaint; Doc. 8, Second Amended Complaint;
            Doc. 9, Third Amended Complaint; Doc. 42-43, Fourth Amended
            Complaint, ¶28; Doc. 169, Fifth Amended Complaint, ¶32)
            (emphasis added).

      6)    “Defendant is collaterally estopped from arguing that Plaintiffs do
            not have vested benefits because the issue has been previously
            decided . . .” (Doc. 1, Complaint; Doc. 2, First Amended
            Complaint; Doc. 8, Second Amended Complaint; Doc. 9, Third
            Amended Complaint; Doc. 42-43, Fourth Amended Complaint,
            ¶29; Doc. 169, Fifth Amended Complaint, ¶33) (emphasis added).

      7)    “The Former Reynolds Metals Company Employees, who
            remained actively employed, were also covered by the CBAs
            between the Union and Alcoa after the merger in or around 1996,
            which provided for the vested welfare benefits Defendant now
            seeks to improperly reduce and withhold and which continued the
            vested benefits that these former Reynolds Metals Company
            employees had prior to the merger.” (Doc. 1, Complaint; Doc. 2,
            First Amended Complaint; Doc. 8, Second Amended Complaint;
            Doc. 9, Third Amended Complaint; Doc. 42-43, Fourth Amended
            Complaint, ¶35; Doc. 169, Fifth Amended Complaint, ¶39)
            (emphasis added).

      8)    “Between June 1, 1993 and June 30, 2006, all Plaintiffs (or persons
            from whom Plaintiffs derive their rights to vested welfare benefits)
            . . .” (Doc. 1, Complaint; Doc. 2, First Amended Complaint; Doc.
            8, Second Amended Complaint; Doc. 9, Third Amended Complaint;
            Doc. 42-43, Fourth Amended Complaint, ¶41; Doc. 169, Fifth
            Amended Complaint, ¶45) (emphasis added).

      9)    “The CBAs and SPDs provided Plaintiffs with vested welfare plan
            benefits which could not be changed by Defendant or the Union
            without Plaintiffs’ consent.” (Doc. 1, Complaint; Doc. 2, First
            Amended Complaint; Doc. 8, Second Amended Complaint; Doc. 9,
            Third Amended Complaint; Doc. 42-43, Fourth Amended
            Complaint, ¶55; Doc. 169, Fifth Amended Complaint, ¶59)
            (emphasis added).

      10)   “All Plaintiffs have vested welfare benefits under the Plan and
            relevant CBAs.” (Doc. 1, Complaint; Doc. 2, First Amended
            Complaint; Doc. 8, Second Amended Complaint; Doc. 9, Third
            Amended Complaint; Doc. 42-43, Fourth Amended Complaint,
            ¶61; Doc. 169, Fifth Amended Complaint, ¶69) (emphasis added).



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      11)   “Alternatively, Plaintiffs vested in retiree medical benefits under
            the terms of the Plan upon retirement . . .” (Doc. 1, Complaint;
            Doc. 2, First Amended Complaint; Doc. 8, Second Amended
            Complaint; Doc. 9, Third Amended Complaint; Doc. 42-43, Fourth
            Amended Complaint, ¶69; Doc. 169, Fifth Amended Complaint,
            ¶89) (emphasis added).

      12)   “Plaintiffs bring this cause of action for and request relief in the
            form of an order declaring that Plaintiffs are vested in the welfare
            benefits plan provided to Plaintiffs and their spouses at the times of
            Plaintiffs’ retirement (or earlier vesting in the Plan). (Doc. 1,
            Complaint; Doc. 2, First Amended Complaint; Doc. 8, Second
            Amended Complaint; Doc. 9, Third Amended Complaint; Doc. 42-
            43, Fourth Amended Complaint, ¶72; Doc. 169, Fifth Amended
            Complaint, ¶91) (emphasis added).

      13)   Defendant has breached its contract in the CBAs by failing to
            provide . . . Plaintiffs with the vested welfare benefits contracted
            for (in the form of vested retiree healthcare benefits) in the CBAs
            relevant to each Plaintiff . . .” (Doc. 1, Complaint; Doc. 2, First
            Amended Complaint; Doc. 8, Second Amended Complaint; Doc. 9,
            Third Amended Complaint; Doc. 42-43, Fourth Amended
            Complaint, ¶76; Doc. 169, Fifth Amended Complaint, ¶97).

      14)   “Defendant has breached its duty under ERISA to provide
            Plaintiffs their vested welfare benefits.” (Doc. 1, Complaint; Doc.
            2, First Amended Complaint; Doc. 8, Second Amended Complaint;
            Doc. 9, Third Amended Complaint; Doc. 42-43, Fourth Amended
            Complaint, ¶82; Doc. 169, Fifth Amended Complaint, ¶103).

      15)   “An actual controversy exists between the parties in that the
            Plaintiffs contend that their employee welfare benefits plan retiree
            benefits vested either at the same time as they became vested under
            Defendant’s tax qualified retirement plan (after ten (10) years of
            service, or after five years of service) or, at the latest, on
            retirement, and Defendant contends that Plaintiffs do not have
            vested welfare benefits and that Defendant is entitled to change the
            benefits it owes to Plaintiffs.” (Doc. 1, Complaint; Doc. 2, First
            Amended Complaint; Doc. 8, Second Amended Complaint; Doc. 9,
            Third Amended Complaint; Doc. 42-43, Fourth Amended
            Complaint, ¶91; Doc. 169, Fifth Amended Complaint, ¶115)
            (emphasis added).

      16)   “Plaintiffs bring two claims for relief under ERISA: (1) a claim
            that they vested in the retiree health care benefits under the terms



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               of the plan, and an alternate claim that, (2) if they did not vest, then
               Alcoa breached its fiduciary duties by misrepresenting that the
               benefits were vested.” (Doc. 22, Brief in Support of Motion for
               Preliminary Injunction, p. 3) (emphasis added).

       17)     “According to the union leaders, the CBAs and SPDs were
               intended to provide Plaintiffs vested health care benefits paid
               entirely by Alcoa until their death.” (Doc. 22, Brief in Support of
               Motion for Preliminary Injunction, p. 8) (emphasis added).

       18)     “First, the documents show vesting unambiguously in favor of
               Plaintiff (sic) and provide vested lifetime retiree healthcare
               benefits.” (Doc. 78, Plaintiffs’ Reply Brief in Support of Motion for
               Preliminary Injunction, p. 2) (emphasis added).

       19)     “It is clear the documents indicate that Plaintiffs have vested
               benefits until death.” (Doc. 78, Plaintiffs’ Reply Brief in Support
               of Motion for Preliminary Injunction, p. 16) (emphasis added).

       20)     “Plaintiffs here did not agree to any reduction in their vested
               benefits.” (Doc. 78, Plaintiffs’ Reply Brief in Support of Motion
               for Preliminary Injunction, p. 20) (emphasis added).

       21)     “Furthermore, the vesting claims and other claims in this action are
               readily susceptible to class treatment.” (Doc. 114, Plaintiffs’ Brief
               in Support of Motion to Amend and in Support of Motion for Class
               Certification, p. 2) (emphasis added).

       22)     “Under ERISA and the LMRA, all courts agree that if a document
               explicitly indicates that retiree medical benefits are vested then
               that document’s language will be enforced.” (Doc. 116, Plaintiffs’
               Omnibus Brief on Court-Ordered Issues, p. 2) (emphasis added).

       23)     1) Whether Plaintiffs’ retiree health care benefits are vested . . .”
               (Doc. 254, Brief in Support of Motion for Partial Summary
               Judgment, p. 14) (emphasis added).

       At each stage of the litigation Defendant consistently categorically denied that

Plaintiffs’ health care benefits were vested:

       1)      “Alcoa denies the remaining allegations contained in paragraph 5
               [see Plaintiffs’ allegations quoted above] of the First Amended
               Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
               56, Answer to Fourth Amended Complaint, ¶5; “Denies the




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           allegations of Paragraph 5 . . .”, Doc. 176, Answer to Fifth
           Amended Complaint, ¶5).

      2)   “Alcoa denies the allegations contained in paragraph 8 [see
           Plaintiffs’ allegations quoted above] of the First Amended
           Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
           56, Answer to Fourth Amended Complaint, ¶8; “Denies the
           allegations of paragraph 8 . . .”, Doc. 176, Answer to Fifth
           Amended Complaint, ¶8).

      3)   “Alcoa denies the allegations contained in paragraph 9 [see
           Plaintiffs’ allegations quoted above] of the First Amended
           Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
           56, Answer to Fourth Amended Complaint, ¶9; “Denies the
           allegations of Paragraph 9”, Doc. 176, Answer to Fifth Amended
           Complaint, ¶9).

      4)   “Alcoa denies the allegations contained in paragraph 10 [see
           Plaintiffs’ allegations quoted above] of the First Amended
           Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
           56, Answer to Fourth Amended Complaint ¶10; “Denies the
           allegations of Paragraph 10”, Doc. 176, Answer to Fifth Amended
           Complaint, ¶10).

      5)   “Alcoa denies the allegations contained in paragraph 28 [see
           Plaintiffs’ allegations quoted above] of the First Amended
           Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
           56, Answer to Fourth Amended Complaint, ¶28; “Denies the
           allegations of Paragraph 32”, Doc. 176, Answer to Fifth Amended
           Complaint, ¶32).

      6)   “Alcoa denies the allegations contained in paragraph 29 [see
           Plaintiffs’ allegations quoted above] of the First Amended
           Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
           56, Answer to Fourth Amended Complaint, ¶29; “Denies the
           allegations of Paragraph 33”, Doc. 176, Answer to Fifth Amended
           Complaint, ¶33).

      7)   “Alcoa denies the remaining allegations contained in paragraph 35
           [see Plaintiffs’ allegations quoted above] of the First Amended
           Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
           56, Answer to Fourth Amended Complaint; “Denies the allegations
           of paragraph 39 . . .”, Doc. 176, Answer to Fifth Amended
           Complaint, ¶35).




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      8)    “Alcoa denies the remaining allegations contained in paragraph 41
            [see Plaintiffs’ allegations quoted above] of the First Amended
            Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
            56, Answer to Fourth Amended Complaint, ¶41; “Denies the
            allegations of Paragraph 45 . . .”, Doc. 176, Answer to Fifth
            Amended Complaint, ¶45).

      9)    “Alcoa denies the allegations contained in paragraph 55 [see
            Plaintiffs’ allegations quoted above] of the First Amended
            Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
            56, Answer to Fourth Amended Complaint, ¶55; “Denies the
            allegations of paragraph 59”, Doc. 176, Answer to Fifth Amended
            Complaint, ¶59).

      10)   “Alcoa denies the allegations contained in paragraph 61 [see
            Plaintiffs’ allegations quoted above] of the First Amended
            Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
            56, Answer to Fourth Amended Complaint, ¶61; “Denies the
            allegations of paragraph 69 . . .”, Doc. 176, Answer to Fifth
            Amended Complaint, ¶69).

      11)   “Alcoa denies the remaining allegations contained in paragraph 69
            [see Plaintiffs’ allegations quoted above] of the First Amended
            Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
            56, Answer to Fourth Amended Complaint, ¶69; “Denies the
            allegations of Paragraph 89” Doc. 176, Answer to Fifth Amended
            Complaint, ¶89).

      12)   “Alcoa denies the allegations contained in paragraph 72 [see
            Plaintiffs’ allegations quoted above] of the First Amended
            Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
            56, Answer to Fourth Amended Complaint, ¶72; “Denies the
            allegations of Paragraph 91 except admits that Plaintiffs request
            relief as stated in Paragraph 91. “Alcoa specifically denies that
            Plaintiffs are entitled to any of the relief sought in Paragraph 91”,
            Doc. 176, Answer to Fifth Amended Complaint, ¶91).

      13)   “Alcoa denies the allegations contained in paragraph 76 [see
            Plaintiffs’ allegations quoted above] of the First Amended
            Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
            56, Answer to Fourth Amended Complaint, ¶76; “Denies the
            allegations of Paragraph 97 . . .”, Doc. 176, Answer to Fifth
            Amended Complaint, ¶97).

      14)   “Alcoa denies the remaining allegations contained in paragraph 82
            [see Plaintiffs’ allegations quoted above] of the First Amended



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               Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
               56, Answer to Fourth Amended Complaint, ¶82; “Denies the
               allegations of Paragraph 103”, Doc. 176, Answer to Fifth Amended
               Complaint, ¶103).

       15)     “Alcoa denies the allegations contained in paragraph 91 [see
               Plaintiffs’ allegations quoted above] of the First Amended
               Complaint.” (Doc. 11, Answer to First Amended Complaint; Doc.
               56, Answer to Fourth Amended Complaint, 91; “Denies the
               allegations of paragraph 115 . . . and Alcoa asserts that Plaintiffs
               do not have vested welfare benefits and are not entitled to fully
               funded, lifetime health care benefits”, Doc. 176, Answer to Fifth
               Amended Complaint, ¶115).

       16)     “The evidence does not support Plaintiffs’ contention that retiree
               medical benefits are vested.” (Doc. 507-2, Defendant’s Proposed
               Findings of Fact, pp. 75-76).

       17)     “Alcoa’s position is that Plaintiffs’ retiree health benefits never
               vested.” (Doc. 511-2, Defendant’s Response to Plaintiffs’
               Proposed Findings of Fact, p. 1).

       18)     “The fact that there is a connection between the receipt of retiree
               health benefits and the receipt of pension benefits does not mean
               that health benefits vested…” (Doc. 511-2, Defendant’s Response
               to Plaintiffs’ Proposed Findings of Fact, p. 17).

       The Court has also recognized in its rulings throughout the litigation that the

issues of vesting was one to be decided at trial:

       1)      “Finally, plaintiffs claim that they have shown a strong likelihood
               of success on the merits and that the CBAs, SPDs and other
               relevant documents are clear on their face that plaintiffs have in
               fact vested medical benefits that cannot now be reduced . . . At this
               point, plaintiffs have not shown a likelihood of success on the
               merits. For that matter neither has the defendant. (Doc. 163,
               Memorandum Opinion [on Plaintiffs’ Motion for Preliminary
               Injunction], pp. 9, 13) (emphasis added).

       2)      “Whether Plaintiffs were and are vested in their retiree health care
               benefits?” (Doc. 456, Pre-Trial Order, p. 4) (emphasis added).

       3)      “What, if any, retiree health care benefits became vested upon
               Plaintiffs’ retirement?” (Doc. 456, Pre-Trial Order, p. 4)
               (emphasis added).



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       In the Court’s earlier rulings in this case, such as the one on the Plaintiffs’ motion

for a preliminary injunction, the Court found that the Plaintiffs had not (as of that time)

proved a right to vested benefits.       (Doc. 163, Order on Motion for Preliminary

Injunction). That finding was repeated in the Court’s ruling on the cross-motions for

summary judgment. (Doc. 392, Order on Cross Motions for Summary Judgment). The

Order that was issued after the trial in this case, as noted, simply states, “IT IS

ORDERED AND ADJUDGED that the plaintiffs take nothing, and that the action be

DISMISSED WITH PREJUDICE on the merits.”                   The Plaintiffs’ request for a

declaratory judgment finding that the benefits were vested was not addressed in the

Order. The Order also fails to address the Plaintiffs’ request for appropriate injunctive

relief to prevent Alcoa from reducing their benefits from their vested amounts.

       In the FOF however it appears the Court clearly found in favor of the Plaintiffs on

this issue (albeit, finding that the benefits though vested were subject to a cap). The

Court stated in numerous places throughout the FOF that the Plaintiffs’ health care

benefits were vested. See, for example, the following paragraphs:

       “To prevail on their ERISA claim, plaintiffs must prove, by a
       preponderance of the evidence, that it was a term of the Plan that plaintiffs
       would, for the rest of their lives, if and when they became vested . . .”
       (FOF, ¶204).

       “The CBAs linked eligibility for retiree health benefits to eligibility for a
       pension. The retiree health benefits provided by the CBAs included
       benefits to a surviving spouse, and a Medicare Supplement plan. The
       SPDs provided that retirees would receive retiree health benefits on the
       first day of their retirement and they would last until the death of the
       retiree.” (FOF, ¶236).

       “The language of the CBAs and SPDs show that plaintiffs’ health benefits
       are lifetime benefits. Further proof that plaintiff’s health benefits are
       vested is promises for benefits after Medicare eligibility and Medicare



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       premium reimbursements, which would be illusory if the benefits were not
       vested. Accordingly the court finds that the plaintiff’s benefits vested at
       the time of retirement, subject to the cap.” (FOF, ¶237) (emphasis added).

       “ . . . Plaintiffs who retired after the effective date of a cap agreement were
       vested in their healthcare benefits subject to the limitations imposed by
       the cap.” (FOF, ¶289) (emphasis added).

       The finding that the benefits are vested (albeit subject to a cap) is important to

Plaintiffs because the law affords greater protection to vested benefits. The Court’s

finding that the benefits are vested protects retirees against Alcoa’s ability to reduce its

current contribution toward benefits of over $7,000/year for pre-Medicare retirees, for

example. However, though the FOF find that “Plaintiffs who retired after the effective

date of a cap agreement were vested in their health care benefits subject to the limitations

imposed by the cap” (FOF, ¶289), the Order does not include this finding but instead

dismisses every claim with prejudice. As it stands, the Order does not declare that the

Plaintiffs’ health care benefits are vested and instead dismisses the Plaintiffs’ request for

a declaratory judgment on this issue with prejudice. The Plaintiffs therefore request that

the Order be amended to reflect that the Court did find in favor of the Plaintiffs on this

issue, and that Plaintiffs have vested lifetime benefits.

B.     The Plaintiffs request the Court to clarify its Judgment Order with respect to
       the cap amount to which the Plaintiffs’ vested health care benefits are
subject.

       The Order does not state the amount of the cap to which the Court found the

Plaintiffs’ vested health care benefits subject. The Court refers to the figure of $7,767.00

for pre-65/non-Medicare eligible retirees and at $3,389.00 for post-65/Medicare eligible

retirees in the FOF:

       “Workers who retired after the cap agreements were effective received
       vested rights subject to the cap. The parties might have agreed in later



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       years to provide greater benefits to the retirees, as they did in this case, but
       the vested rights were only to the capped contributions.” (FOF, ¶245).

       “Finally, the court concludes that the 2006 CBA properly implemented the
       2001 cap at $7,767.00 for pre-65/non-Medicare eligible retirees and at
       $3,389.00 for post-65/Medicare eligible retirees.” (FOF, ¶276).

       Although the FOF states that “Plaintiffs who retire after the effective date of a cap

agreement were vested in their health care benefits subject to the limitations imposed by

the cap” (See ¶289 of FOF), the Order conflicts with this finding that the Plaintiffs’

health care benefits are vested and dismisses the Plaintiffs’ request for a declaratory

judgment and injunctive relief on this issue with prejudice.

       Further, the Court in its Order does not state whether the level of vesting to which

the Court refers in the FOF is in fact $7,767.00 for pre-65/non-Medicare eligible retirees

and $3,389.00 for post-65/Medicare eligible retirees. Stated differently, as it stands the

Order does not indicate whether by being vested subject to a cap the benefits for retirees

under the 2006 CBA requires Alcoa to contribute $7,767.00 for pre-65/non-Medicare

eligible retirees and $3,389.00 for post-65/Medicare eligible retirees, although that is

what the FOF indicates. The Plaintiffs accordingly request that the Court amend the

Order to reflect what the Court has ruled as to the amount of the cap under the 2006

CBA.

C.     The Plaintiffs request the Court to clarify its Judgment Order with respect to
       whether the plan design, premiums and deductibles to which the
       Plaintiffs are subject are to remain constant until 2017.

       The Order is also silent as to Plaintiffs’ request for injunctive and declaratory

relief preventing Alcoa from making changes to the plan design, premiums and

deductibles to which the Plaintiffs have been and will remain subject between 2007 to

2017. In this regard the pleadings state:



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      “Plaintiffs also request relief in the form of . . . an injunction and
      preliminary injunction against Defendant’s reduction of their welfare
      benefits under the Plan . . .” (Doc. 1, Complaint; Doc. 2, First Amended
      Complaint; Doc. 8, Second Amended Complaint; Doc. 9, Third Amended
      Complaint; Doc. 42-43, Fourth Amended Complaint, ¶73; Doc. 169, Fifth
      Amended Complaint, ¶92).

      “The requested order would include: (a) declaratory judgment for
      Plaintiffs; (b) an injunction prohibiting Defendant from changing
      Plaintiffs’ welfare benefits plan benefits from what they were on the date
      of retirement or other date on which said benefits commenced; (c)
      injunctive relief directing Defendant to comply with the CBAs in effect
      when each Plaintiff retired or otherwise commenced receipt of benefits via
      specific performance of Defendant’s obligation to provide payment for
      their vested welfare benefits;” (Doc. 1, Complaint; Doc. 2, First Amended
      Complaint; Doc. 8, Second Amended Complaint; Doc. 9, Third Amended
      Complaint; Doc. 42-43, Fourth Amended Complaint, ¶79; Doc. 169, Fifth
      Amended Complaint, ¶98).

      “Plaintiffs request that the court grant Plaintiffs’ equitable relief,
      injunctive relief, declaratory relief . . . as a result of Defendant’s breached
      described herein of its fiduciary duty to them under ERISA.” (Doc. 1,
      Complaint; Doc. 2, First Amended Complaint; Doc. 8, Second Amended
      Complaint; Doc. 9, Third Amended Complaint; Doc. 42-43, Fourth
      Amended Complaint, ¶89; Doc. 169, Fifth Amended Complaint, ¶112).

      “Plaintiffs are entitled to injunctive and declaratory relief in the form of an
      order: (a) that Plaintiffs and their spouses and dependants are entitled to
      receive in an unreduced form the welfare benefits they received and which
      were included in the relevant SPDs and CBAs at the time of retirement or
      earlier commencement of retiree health care benefits; and (b) ordering
      Defendant to restore Plaintiffs’ benefits to what they were prior to January
      1, 2007 and prior to any CBA provisions purporting to effectuate changes
      in those benefits.” (Doc. 1, Complaint; Doc. 2, First Amended Complaint;
      Doc. 8, Second Amended Complaint; Doc. 9, Third Amended Complaint;
      Doc. 42-43, Fourth Amended Complaint, ¶93; Doc. 169, Fifth Amended
      Complaint, ¶116).

      “[Requesting relief of] 1. Preliminarily and permanently enjoining
      Defendant from reducing Plaintiffs’ welfare benefits from the levels
      provided Plaintiffs by Defendant at the time Plaintiffs retired or otherwise
      commenced receiving retiree health care benefits.” (Doc. 1, Complaint;
      Doc. 2, First Amended Complaint; Doc. 8, Second Amended Complaint;
      Doc. 9, Third Amended Complaint; Doc. 42-43, Fourth Amended
      Complaint, Prayer for Relief ¶1; Doc. 169, Fifth Amended Complaint,
      Prayer for Relief ¶2).



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       “[Requesting relief of] 3. A declaratory judgment stating that Plaintiffs
       have vested welfare benefit plans benefits to be provided by Defendant
       unreduced from those previously and currently received by Plaintiffs and
       promised to Plaintiffs at the time of retirement of Plaintiffs . . .” (Doc. 1,
       Complaint; Doc. 2, First Amended Complaint; Doc. 8, Second Amended
       Complaint; Doc. 9, Third Amended Complaint; Doc. 42-43, Fourth
       Amended Complaint, Prayer for Relief ¶3; Doc. 169, Fifth Amended
       Complaint, Prayer for Relief ¶4).

       “[Plaintiffs] claim that on or around January 11, 2007 Plaintiffs’ retiree
       health care benefits were impermissibly reduced in violation of ERISA
       and the LMRA and they are entitled to injunctive and declaratory relief . .
       .” (Doc. 456, Pretrial Order, p. 2).

       In the FOF, the Court seems to indicate that the cap in the 2006 CBA acts to

prevent Alcoa from increasing premiums until 2017 from the 2007 level of $150.00 per

month for the retiree and the retiree’s spouse ($75.00 per person) for a pre-Medicare

retiree and $80.00 per month for the retiree and the retiree’s spouse ($40.00 per person)

for a pre-Medicare retiree.

       “As a concession to the Union, Alcoa negotiated a plan design that would
       ensure that retiree premiums remained constant from year to year rather
       than fluctuating with the cost of healthcare. Accordingly, any premiums
       paid while annual costs are below the cap will boost the notional account
       and will prevent premiums from rising sporadically when costs exceed the
       cap by greater margins in the future.” (FOF, ¶277, emphasis added).

       “However, Lauren McCullough testified that the Union insisted and Alcoa
       agreed that rather than have increasing premiums to match the rising costs
       of healthcare, retirees would pay flat premiums over the term of the
       CBA.” (FOF, ¶278, emphasis added).

       “Plan design changes included a change to a 90/10 co-insurance plan, with
       out-of-pocket maximums and deductibles. The 2006 deductibles are $250
       per person/$500 per family, compared to $75/$150 before 1993.” (FOF,
       ¶281, emphasis added).

       “As discussed above, the Union negotiated with Alcoa in 2006 to soften
       the impact of implementing the cap by providing retirees with benefits that
       the cap letter did not obligate Alcoa to provide, such as keeping retiree
       premiums constant from year to year and providing additional payments to



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       widows covered under Alcoa’s benefit plan.”        (FOF, ¶283, emphasis
       added)

       “Under the negotiated 2006 CBA, a pre-Medicare retiree pays $150 per
       month for himself and his spouse ($75 per person), a post-Medicare retiree
       pays $80 per month for himself and his spouse ($40 per person), and those
       premiums are expected to stay flat until 2017.” (FOF, ¶287, emphasis
       added)

       “The plan design changes set forth in the 2006 CBA will ensure that no
       further plan design changes will be necessary until 2017. . . . Alcoa’s
       actuaries currently estimate that the notional account should allow retiree
       premiums to remain constant until 2017.” (FOF, ¶288, emphasis added).

       Based on this language the Plaintiffs understand the FOF to require Alcoa to keep

premiums, deductibles and the plan design constant and unchanged until 2017. However,

as is apparent from the 2010 CBA summary materials attached as Exhibit A to

Declaration of Gregory F. Coleman, (hereinafter referred to as “Coleman Declaration”)

submitted herewith, these amounts are in fact going up. As of January 1, 2011 the

monthly premium for pre-Medicare retirees has increased by $10 per month to $85 per

month (or more than 13%) and in addition will go up another $5 per month beginning

January 1, 2013. As of January 1, 2011 the monthly premium for post-Medicare retirees

has increased by $5 per month to $45 per month (or more than 12%) and in addition will

go up another $5 per month beginning January 1, 2013.             (Exhibit A, Coleman

Declaration, Bates number 000002).

       The Court will also note that there have been plan design changes in the 2010

attachment that clearly conflict with the language in the FOF quoted above. At Bates

number 000003 of the Coleman Declaration, the Court will note that the deductible has

risen to $300 per person/$600 per family under the proposed revisions, up from $250 per




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person/$500 per family under the 2006 CBA. This seems to contravene the Court’s

finding that there were to be no plan design changes until 2017.

         This information was not available to the Plaintiffs at the time of trial as the

negotiations that resulted in these increases did not take place until May/June 2010. The

actual 2010 CBA and SPD have not been published yet. The information stated above is

contained in the attachment to Plaintiffs’ counsel declaration only. Since the terms of the

agreement stated in the attachment generally ends in 2014 based on previous CBAs and

SPDs, there is a possibility there could be additional increases between 2014 and 2017.

         For this reason, the Plaintiffs request that the Court clarify and amend its

Judgment Order with respect to whether the premiums, deductibles and plan design are to

remain constant and unchanged through 2017 as indicated in the FOF. In this regard

Plaintiffs are submitting herewith a proposed amended Judgment Order reflecting the

clarifications that are requested.

                               IV.    LEGAL ARGUMENT

         Parties seeking a clarification of a judgment or order from the Court may do so

under Fed. R. Civ. P. 59(e). E.g., Capacchione v. Charlotte-Mecklenberg Schools, 190

F.R.D. 170, 175 (W.D.N.C. 1999); Belair v. Lombardi, 151 F.R.D. 698, 699 (M.D. Fla.

1993).

         [The] Court has considerable discretion to grant or deny a Rule 59(e)
         motion. See Huff v. Metro Life Ins. Co., 675 F.2d 119, 122 (6th Cir.
         1982). To prevail on such a motion, a party must show “clear error in the
         court’s prior decision or . . . put forth an intervening controlling decision
         or newly discovered evidence not previously available.” Al-Sadoon v.
         FISI Madison Financial Corp., 188 F.Supp.2d 899, 901-902 (M.D. Tenn.
         2002). Such a Motion may also be granted to “prevent manifest injustice.”
         Id. at 901, quoting GenCorp, Inc. v. American Int’l Underwriters, 178
         F.3d 804, 834 (6th Cir. 1999).




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Grier v. Goetz, 402 F.Supp.2d 871, 873 (M.D. Tenn. 2005).           In addition, after a non-

jury trial the Court can alter or amend the judgment for one of three reasons,

        Rule 59 provides that, in an action tried without a jury, the court ‘may
        open the judgment if one has been entered, take additional testimony,
        amend findings of fact and conclusions of law, and direct entry of a new
        judgment. FED. R. CIV. P. 59(a). Under the rule, the court may alter or
        amend the judgment entered after a non-jury trial for (1) manifest errors of
        law, (2) manifest errors of fact, or (3) newly discovered evidence.
        Geshwind v. Garrick, 738 F. Supp. 792, 793 (S.D.N.Y. 1990, aff’d 927
        F.2d 594 (2d Cir.), cert. denied, 502 U.S. 811, 116 L.Ed.2d 34, 112 S.Ct.
        58 (1991); Agola v. Hagner, 678 F. Supp. 988, 991 (E.D.N.Y. 1987).

        DiPirro v. United States, 189 F.R.D. 60, 62-63 (W.D.N.Y. 1999).

        Plaintiffs assert there is clear error in the Order, that there is newly discovered

evidence previously unavailable at the time of trial and/or that absent clarification and

amendment to the Order there will be manifest injustice to the Plaintiffs. The Plaintiffs

therefore request that the Court exercise its discretion to clarify and/or amend the Order

in this case. See Huff v. Metro Life Ins. Co., 675 F.2d 119, 122 (6th Cir. 1982).

A.      There is clear error in the Order with respect to the absence of a declaratory
        ruling that the Court found in favor of the Plaintiffs on the issues of whether
        their health care benefits were vested, and/or the Plaintiffs would suffer
        manifest injustice absent amendment of the Order.

        Even though the issue of whether the Plaintiffs’ health care benefits were vested

was contested at each and every stage of this litigation, and was addressed and decided in

favor of the Plaintiffs in the FOF (though subject to a cap), the Order includes no

declaratory relief for Plaintiffs in this regard. The absence of a judgment in the Plaintiffs’

favor as to their request for a declaratory judgment on this issue is clear error and/or

results in manifest injustice to the Plaintiffs.

        Taken literally, the language in the Order indicates (contrary to the FOF) that the

Plaintiffs were not successful on their claim for a declaration that their health care



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benefits were vested, and further that their request for declaratory relief is dismissed with

prejudice. Plaintiffs respectfully contend that in light of the numerous references to these

benefits being vested (albeit subject to a cap) in the FOF, the Order as currently worded

misstates what the Court ruled. Under the wording of the Order, Alcoa could terminate

the remainder of Plaintiffs’ health care benefits immediately as there is no prohibition

against that in the Order – that is, no declaration, consistent with the FOF, that Plaintiffs

proved the benefits are vested though subject to a cap. While the FOF gives the Court’s

reasoning for what is stated in an Order, it is the Order itself that carries the weight of

law. See Fed. R. Civ. P. 58 (entry of the judgment triggers the time for an appeal to run);

Cf. Communications Workers of America, AFL-CIO v. United Telephone Co. of Ohio,

491 F.2d 207 (6th Cir. 1974) (discussing the difference in effect between the judgment

pursuant to Rule 58 and the memorandum entered by the Court). The Court’s finding in

the FOF that the benefits are vested is important to the retirees since vested benefits are

afforded greater protection. E.g., Sengpiel v. B.F. Goodrich Co., 156 F.3d 660 (6th Cir.

1998) (noting how vested benefits are forever unalterable).          Accordingly Plaintiffs

request that the Court clarify and amend its Order to include a specific judgment granting

the Plaintiffs’ request for a declaration that their health care benefits are lifetime, vested

benefits.


B.     There is clear error in the Order with respect to the absence of a declaratory
       ruling to defining specifically the cap amount to which the Plaintiffs’ vested
       health care benefits are subject, and/or the Plaintiffs would suffer manifest
       injustice absent amendment.

       The Court’s FOF indicates that, while the Court agreed with the Plaintiffs’

contention that their health care benefits were lifetime vested benefits, it disagreed with




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the Plaintiffs’ contention that those benefits were not subject to a cap, and disagreed with

Plaintiffs’ argument that if vested and capped, Alcoa was not paying the vested and

capped amount (as of the time of trial). (FOF, ¶245) However the Court did not make

clear what the exact amount of that cap is and what it should be in the future. The Court

does state, “the 2006 CBA properly implemented the 2001 cap at $7,767 for pre-65/non-

Medicare retirees and at $3,389 for post-65/Medicare eligible retirees.” (FOF ¶276).

Accordingly Plaintiffs request that the Court declare that retirees under the 2006 CBA are

entitled to have Alcoa fund benefits at $7,767 for pre-65/non-Medicare retirees and at

$3,389 for post-65/Medicare eligible retirees. Because the Order as it stands is silent as to

these specifics the Plaintiffs assert it offers them no guidance and offers Alcoa no

restriction on figuring what the cap is in future years, thus leaving Alcoa free to set the

cap arbitrarily in whatever amount it chooses and passing any costs associated with that

change on to the retirees (and potentially triggering additional time-consuming and costly

litigation). That scenario contravenes what the Plaintiffs believe was the intent of the

Court as shown in the language quoted from the FOF. As unrestricted changes in the cap

amount would cause an unfair hardship on the Plaintiffs, they assert manifest injustice

would result from the Court’s omission of a specific cap amount. The FOF do seem

fairly clear that the cap is $7,767 for pre-65/non-Medicare retirees and $3,389 for post-

65/Medicare eligible retirees. The Plaintiffs therefore request that the Order be clarified

and, if necessary, amended to include a declaration of the specific cap amount to which

their vested health care benefits are subject.

C.     There is clear error in the Order in light of newly discovered evidence with
       respect to whether the plan design, premiums and deductibles to which the
       Plaintiffs are subject are to remain constant until 2017, and/or the Plaintiffs
       would suffer manifest injustice absent amendment.



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       Despite language in the FOF that appears to indicate that the plan design,

premiums and deductibles set forth in the 2006 CBA are to remain unchanged until 2017,

the Order itself is silent.    As is shown in the document attached to the Coleman

Declaration, the 2010 Retiree Healthcare Summary shows an increase (as of January 1,

2011) in the monthly premium for pre-Medicare retirees in the amount of $10 per month

and then another increase in the amount of $5 per month beginning January 1, 2013. As

of January 1, 2011 the monthly premium for post-Medicare retirees will go up by $5 per

month and in addition will go up another $5 per month beginning January 1, 2013. Also

as of January 1, 2011 the deductible had risen to $300 per person/$600 per family under

the proposed revisions, up from $250 per person/$500 per family under the 2006 CBA.

This seems to contravene the Court’s finding that there were to be no plan premium

increase or design changes until 2017.

       As stated above, one of the reasons that a judgment may be revisited is because of

the discovery of new evidence that was unavailable at the time of trial. Fed. R. Civ. P.

59(a). The information contained in the attachment to the Declaration is exactly this sort

of newly discovered evidence. The attachment came about as a result of negotiations

between Alcoa and the Union that took place in June 2010, well after the conclusion of

the trial in this case on October 1, 2009. It is now appropriate for the Court to consider

the information contained in the attachment to the Declaration, because this evidence was

not available prior to the completion of the trial.

       When examined, the importance of this new evidence is obvious. The Court

stated in the FOF that “[a]s a concession to the Union, Alcoa negotiated a plan design

that would ensure that retiree premiums remained constant from year to year rather than



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fluctuating with the cost of health care. Accordingly, any premiums paid while annual

costs are below the cap will boost the notional account and will prevent premiums from

rising sporadically when costs exceed the cap by greater margins in the future,” (FOF,

¶277, emphasis added) and “[t]he plan design changes set forth in the 2006 CBA will

ensure that no further plan design changes will be necessary until 2017.” (FOF, ¶288,

emphasis added). The new evidence attached to Plaintiffs’ declaration shows just the

opposite. Alcoa has in fact increased the premiums and deductibles to be paid by the

Plaintiffs beginning in 2011 and will increase them again in 2013. This is exactly the

situation contemplated by the portion of the federal rule that allows the Court to receive

and consider new evidence. Compare Keweenaw Bay Indian Community v. State of

Michigan, 152 F.R.D. 562, 563 (W.D. Mich. 1992) (refusing to grant a Rule 59 motion

because the plaintiff did “not assert that there has been a change of facts since the

submission of the issues to the Court.”)

       From Plaintiffs’ initial Complaint filing onward, Plaintiffs consistently alleged a

right to declaratory and injunctive relief under 29 U.S.C. § 1132(a) and other law. See

Complaint filed November 17, 2006, at ¶¶ 66-73. Plaintiffs requested “relief in the form

of an order declaring that Plaintiffs are vested in the welfare benefits plan benefits

provided to Plaintiffs and their spouses at the times of Plaintiffs’ retirement (or earlier

vesting in the plan).” Id. ¶ 73. Accordingly, the relief sought herein in the form of a

modification of the Judgment Order to declare that Plaintiffs’ benefits are vested

(consistent with what is found in the Findings of Fact and Conclusions of Law) is

consistent with what Plaintiffs requested in their Complaint. Further, the Complaint also

requested “an injunction … against Defendant’s reduction of their welfare benefits under




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the Plan ….” Id. Accordingly, it is appropriate for the Court to amend the Judgment

Order to clarify that Defendant is obligated to maintain the benefits at the levels this

Court in its Findings has found to be vested.

       Plaintiffs sought similar relief elsewhere in the Complaint. See id. ¶ 79 (claim

under NLRA including for “declaratory judgment” and “injunctive relief”); ¶ 89 (claim

under ERISA for breach of fiduciary duty including request for “equitable relief,

injunctive relief, declaratory relief”); ¶¶ 90-93 (claim for declaratory and injunctive

relief); Prayer for Relief ¶¶ 1, 3 (accord). Further, it is clear that courts have routinely

awarded such relief under ERISA and other applicable law. See, e.g., Rose v. Volvo

Const. Equipment North America, Inc., 542 F.Supp.2d 751, 768-69 (N.D. Ohio 2008)

(“The court hereby grants declaratory and injunctive relief for Plaintiffs, ordering that

VCENA is obligated under ERISA and the LMRA to maintain fully-funded health care

insurance benefits to Plaintiff retirees, spouses, surviving spouses, and eligible

dependents of retirees and fully-funded life insurance benefits to Plaintiff retirees during

the lifetime of the class representatives and class members.”).

       In light of the new evidence, the Plaintiffs now seek a clarification/amendment of

the Order that declares that the premiums, deductibles and the plan design set forth in the

2006 CBA are to carry through until 2017 as indicated in the FOF. Further, the Plaintiffs

request that the Order be amended to enjoin Alcoa from making any changes in the

premiums, deductibles or plan design until 2017 as stated by the Court in the FOF.

                                 V.      CONCLUSION




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       For the reasons stated above, Plaintiffs respectfully request that the Court grant

their motion to clarify and/or amend the existing Order to address the Plaintiffs’ requests

for declaratory and injunctive relief.

       Respectfully submitted this 23rd day of March, 2011 by:



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                            CERTIFICATE OF SERVICE

       I hereby certify on this 23rd day of March, 2011, I electronically filed the
foregoing PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR
CLARIFICATION AND/OR AMENDMENT OF THE JUDGMENT ORDER with the
Clerk of the Court using the CM/ECF filing system, which will electronically serve on
the same date, the attorneys for Defendant as indicated on the electronic filing receipt.



                                     s/Gregory F. Coleman
                                     Gregory F. Coleman




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